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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                                HOUSTON DIVISION

      In Re: Maria Gomez Rodriguez                                                                       Case No: 17-34259-H2-13
              Debtor(s)


                      TRUSTEE'S OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN
                                               AND
                                        MOTION TO DISMISS
      THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE
      THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE
      THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
      RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR
      RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE
      MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
      TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU.
      IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
      ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY
      CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION AT THE HEARING.
      If a response is filed, a hearing on this motion will be held at 10:00 am on Monday, October 2, 2017 at the U.S.
      Courthouse, 515 Rusk, Courtroom # 400.

      REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

         COMES NOW, William E. Heitkamp, Trustee, filing this Chapter 13 Trustee’s Objection to Confirmation of
      Chapter 13 Plan and Motion to Dismiss pursuant to Fed. R. Bankr. P. 1017 and Local Bankruptcy Rule 1017-2.
      The Chapter 13 Trustee objects to confirmation of the plan, and would show the Court that the plan does not
      meet the requirements for confirmation and thus constitutes grounds for dismissal for the following reasons:




      1.                The Chapter 13 Plan must be amended to provide for payment in full of the secured and priority
                        claims within the term of the plan.




           WHEREFORE, Trustee prays that the Court deny confirmation of the plan and dismiss the case.

                                                                           RESPECTFULLY SUBMITTED,

                                                                            /s/ William E. Heitkamp
                                                                           WILLIAM E. HEITKAMP, TRUSTEE
                                                                           ADMISSIONS ID NO. 3857
                                                                           ADDRESS FOR CORRESPONDENCE ONLY:
                                                                           9821 KATY FREEWAY, SUITE 590
                                                                           HOUSTON, TX 77024
                                                                           (713) 722-1200 TELEPHONE
                                                                           (713) 722-1211 FACSIMILE
                                                                           ADDRESS FOR PAYMENTS ONLY:
                                                                           P.O. BOX 740
                                                                           MEMPHIS, TN 38101-0740




CLW                                                                                                                          Page 1 of 1
